Case 2:18-cv-13377-CCC-MF Document 36 Filed 06/09/20 Page 1 of 1 PageID: 425




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY




                                                     Civil Action No. 18-13377 (CCC)
 JODI CRANDELL, JUAN ONTIVEROS,
 and JIM KETTELKAMP, on behalf of
 themselves and all others similarly
 situated,

                             Plaintiffs,                         ORDER
 v.

 VOLKSWAGEN GROUP OF AMERICA,
 INC. and VOLKSWAGEN
 AKTIENGESELLSCHAFT,

                            Defendants.



       IT IS on this 9th day of June, 2020

        ORDERED that there shall be a conference via ZOOM before the Undersigned on
June 24, 2020 at 10:00 a.m. The ZOOM conference information will be sent to your
designated email address on the Court’s Electronic Filing System. In addition to and
wholly separate from lead counsel, individual clients are required to be present on the
conference. Counsel is directed to email their client’s email addresses five (5) days before
the conference to mf_orders@njd.uscourts.gov so that they may be included in the ZOOM
invitation.




                                                    s/Mark Falk
                                                 MARK FALK
                                                 United States Magistrate Judge
